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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


 KATHERINE MUSLOW, et al.                                          CIVIL ACTION

 VERSUS                                                            NO. 19-11793

 BOARD OF SUPERVISORS OF                                           SECTION M (2)
 LOUISIANA STATE UNIVERSITY
 AND AGRICULTURAL AND
 MECHANICAL COLLEGE, et al.


                                          ORDER & REASONS

       Before the Court is a motion by defendants the Board of Supervisors of Louisiana State

University and Agricultural and Mechanical College and Carlton “Trey” Jones, III (collectively,

“Defendants”) to strike plaintiffs’ preliminary expert report, and exclude at trial the testimony, of

Caren Goldberg, Ph.D.1 Plaintiffs Katherine Muslow and Meredith Cunningham (collectively,

“Plaintiffs”) respond in opposition,2 and Defendants reply in further support of their motion.3

       Defendants argue that the entirety of Goldberg’s opinions and testimony should be

excluded because Plaintiffs provided her with 44 pages of documents that Plaintiffs improperly

obtained outside the confines of the discovery and public-records request processes – the very

same documents this Court had previously ordered Plaintiffs to return to Defendants and forbidden

Plaintiffs from using in this litigation.4 In opposition, Plaintiffs argue that the Court has already

sanctioned them for using the documents, and that they have since obtained said documents

through proper channels.5 Plaintiffs contend that it would be unjust to effectively sanction them




       1
         R. Doc. 189.
       2
         R. Doc. 210.
       3
         R. Doc. 226.
       4
         R. Docs. 189-1; 226 (citing R. Docs. 45; 83).
       5
         R. Doc. 210.
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twice by striking Goldberg, “their sole liability expert,” especially considering that Goldberg did

not particularly rely on the documents in forming her opinions.6

        The Court has considered the parties’ arguments and, while it is troubled by Plaintiffs past

behavior concerning the subject documents, it finds that striking Goldberg’s report and testimony

is unwarranted. The 44 pages were but a small portion of all the information Plaintiffs provided

to Goldberg to consider in forming her opinions, and Goldberg has since deleted them from her

computers and states in her declaration that they did not play an integral role in forming her

opinions.7 Moreover, Plaintiffs have now obtained the same 44 pages of documents through

proper channels. As such, the Court will not strike Goldberg. However, she will not be permitted

to use or refer to the improperly obtained documents although she may use or refer to the same

documents if subsequently obtained through the proper channels. Presumably, though, she will

not need to do so because, as she now attests, they did not influence her opinions.

        Accordingly, for the foregoing reasons,

        IT IS ORDERED that Defendants’ motion to strike Goldberg (R. Doc. 189) is DENIED

        New Orleans, Louisiana, this 25th day of May, 2021.




                                                           ________________________________
                                                           BARRY W. ASHE
                                                           UNITED STATES DISTRICT JUDGE




        6
          Id.
        7
          R. Doc. 210-1. Goldberg was provided thousands of pages of documents in addition to the 44 pages upon
which this motion turns. See R. Doc. 189-2 at 25.

                                                      2
